         Case 1:18-cr-00032-DLF Document 350 Filed 02/18/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

               v.
                                                     Criminal No. 18-CR-32-2
 CONCORD MANAGEMENT
 AND CONSULTING LLC,

                                 Defendant.


    GOVERNMENT’S MOTION FOR EXTENSION OF TIME TO FILE REPLY IN
      FURTHER SUPPORT OF MOTION IN LIMINE TO ADMIT EVIDENCE
       The United States of America, by and through undersigned counsel, respectfully requests

a seven-day extension of time to file a reply in support of its Motion in Limine to Admit Evidence.

The defendant opposes this motion.

       1. Pursuant to an agreement by the parties, on February 7, 2020, the government filed a

motion in limine addressing six broad categories of documents that the government intends to

introduce at trial. Doc. 335. Concord filed its opposition on the evening of February 17. Under

the current schedule, the government’s reply is due on February 21.

       2. The requested extension is necessary to ensure adequate time to prepare and file the

government’s response. Although the government’s motion was 30 pages long, Doc. 335,

Concord filed a substantially overlength opposition (56 pages), which itself includes a number of

long substantive footnotes as well as five pages of single-spaced argument placed into bullet

points. In addition to addressing the six categories of documents discussed in the government’s

motion, Concord also appears to raise objections to dozens of other categories of exhibits. Not

only is four days insufficient to file a thorough response, but the government is also currently

addressing a number of other matters related to this case, including two other filings due this week.
         Case 1:18-cr-00032-DLF Document 350 Filed 02/18/20 Page 2 of 2



       3. The requested extension will not delay resolution of these matters. The Court currently

has hearings scheduled in this case on March 2 and March 9. By filing its reply on February 28,

the Court could still address these issues at the March 2 hearing and would certainly have ample

opportunity to address them at the March 9 hearing.

       4. The government has contacted counsel for Concord, who oppose the requested seven-

day extension but do not oppose a one-business day extension, to February 24.



                                    Respectfully submitted,


JOHN C. DEMERS                                             TIMOTHY J. SHEA
Assistant Attorney General for National Security           United States Attorney
                                                           D.C. Bar No. 437437

By: /s/                                                    By: /s/ Peter Lallas
Heather N. Alpino                                          Luke Jones, VA Bar 75053
U.S. Department of Justice                                 Peter Lallas, NY Bar 4290623
National Security Division                                 Adam Jed
950 Pennsylvania Ave. NW                                   555 Fourth Street NW
Washington, D.C. 20530                                     Washington, D.C. 20530
Telephone: (202) 514-2000                                  Telephone: (202) 252-7066
